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                          UNITED STATES BANKRUPTCY COURT
                        MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   RAIMOND B HALL                                       CASE NO. 08-51286
   TERRY B HALL                                         JUDGE Thomas W. Waldrep, Jr.
   160-7 KINDER RD
   WINSTON SALEM NC
                               27107                    DATE: 06/02/09

          Debtor(s)
   SSN(1)XXX-XX-8855 SSN(2)XXX-XX-0850
--------------------------------------------------------------------------------
                             REPORT OF FILED CLAIMS

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     Pursuant to 11 U.S.C. 704(5), the trustee has examined the proofs of claim
filed in this case and objected to the allowance of such claims as appeared to
be improper except where no purpose would have been served by such objection.
After such examination and objections, if any, the trustee states that claims
should be deemed allowed or "not filed" as indicated below.


--------------------------------------------------------------------------------
NAME AND ADDRESS OF CREDITOR               AMOUNT   CLASSIFICATION
--------------------------------------------------------------------------------
AT&T                                          .00   Unsecured
P O BOX 105503                          INT:   .00% NOT FILED
ATLANTA GA                                 176425   ACCT:1914
                               30348-5503    0015   COMM:
--------------------------------------------------------------------------------
AT&T                                          .00   BNC NOTICES ONLY
P O BOX 105503                          INT:   .00% NOT FILED
ATLANTA GA                                 176425   ACCT:
                               30348-5503    0016   COMM:BNC
--------------------------------------------------------------------------------
AT&T                                          .00   Unsecured
P O BOX 57907                           INT:   .00% NOT FILED
MURRAY UT                                  077717   ACCT:
                               84157-0000    0033   COMM:
--------------------------------------------------------------------------------
AT&T                                          .00   BNC NOTICES ONLY
P O BOX 57907                           INT:   .00% NOT FILED
MURRAY UT                                  077717   ACCT:
                               84157-0000    0034   COMM:BNC
--------------------------------------------------------------------------------
CARE CREDIT/GEMB                              .00   Unsecured
P O BOX 981439                          INT:   .00% NOT FILED
EL PASO TX                                 109144   ACCT:5110
                               79998-0000    0019   COMM:
--------------------------------------------------------------------------------
CARE CREDIT/GEMB                              .00   BNC NOTICES ONLY
P O BOX 981439                          INT:   .00% NOT FILED
EL PASO TX                                 109144   ACCT:
                               79998-0000    0020   COMM:BNC
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--------------------------------------------------------------------------------
NAME AND ADDRESS OF CREDITOR               AMOUNT   CLASSIFICATION
--------------------------------------------------------------------------------
CITIFINANCIAL                                 .00   Secured
2650 PETERS CREEK PARKWAY               INT:   .00% AMENDED
WINSTON-SALEM NC                           212495   ACCT:XX7638
                               27127-0000    0001   COMM:DISALLOWED 4/09
--------------------------------------------------------------------------------
CITIFINANCIAL                                 .00   BNC NOTICES ONLY
2650 PETERS CREEK PARKWAY               INT:   .00% NOT FILED
WINSTON-SALEM NC                           212495   ACCT:
                               27127-0000    0002   COMM:BNC
--------------------------------------------------------------------------------
CITIFINANCIAL                                 .00   NOTICES ONLY
ATTN OFFICER OR MANAGING AGENT          INT:   .00% NOT FILED
2650 PETERS CREEK PARKWAY                  223851   ACCT:
WINSTON SALEM NC               27127-5655    0039   COMM:NOTICES ONLY
--------------------------------------------------------------------------------
CREDIT BUREAU                                 .00   NOTICES ONLY
P O BOX 26140                           INT:   .00% NOT FILED
GREENSBORO NC                              025103   ACCT:
                               27402-0000    0021   COMM:NOTICES ONLY
--------------------------------------------------------------------------------
CREDIT BUREAU                                 .00   BNC NOTICES ONLY
P O BOX 26140                           INT:   .00% NOT FILED
GREENSBORO NC                              025103   ACCT:
                               27402-0000    0022   COMM:BNC
--------------------------------------------------------------------------------
DAVIDSON COUNTY TAX COLLECTOR                 .00   Tax-Priority
28 W CENTER ST                          INT:   .00% NOT FILED
LEXINGTON NC                               144827   ACCT:2007
                               27292-0000    0011   COMM:
--------------------------------------------------------------------------------
DAVIDSON COUNTY TAX COLLECTOR                 .00   BNC NOTICES ONLY
28 W CENTER ST                          INT:   .00% NOT FILED
LEXINGTON NC                               144827   ACCT:
                               27292-0000    0012   COMM:BNC
--------------------------------------------------------------------------------
EMPLOYMENT SECURITY COMMISSION                .00   NOTICES ONLY
P O BOX 26504                           INT:   .00% NOT FILED
RALEIGH NC                                 062191   ACCT:
                               27611-6504    0013   COMM:NOTICES ONLY
--------------------------------------------------------------------------------
EMPLOYMENT SECURITY COMMISSION                .00   BNC NOTICES ONLY
P O BOX 26504                           INT:   .00% NOT FILED
RALEIGH NC                                 062191   ACCT:
                               27611-6504    0014   COMM:BNC
--------------------------------------------------------------------------------
GREEN TREE SERVICING LLC                   278.91   CONTINUING DEBT
P O BOX 0049                            INT:   .00%
PALATINE IL                                362449   ACCT:0211
                               60055-0049    0003   COMM:97 MH
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NAME AND ADDRESS OF CREDITOR                AMOUNT   CLASSIFICATION
--------------------------------------------------------------------------------
GREEN TREE SERVICING LLC                       .00   NOTICES ONLY
P O BOX 6154                            INT:    .00% NOT FILED
RAPID CITY SD                               219930   ACCT:0211
                               57709-0000     0035   COMM:NOTICES ONLY
--------------------------------------------------------------------------------
GREEN TREE SERVICING LLC                  1,316.28   Arrearage Ongoing-Secured
P O BOX 0049                            INT:    .00%
PALATINE IL                                 362449   ACCT:0211
                               60055-0049     0038   COMM:ARREARAGE
--------------------------------------------------------------------------------
GREENTREE                                      .00   BNC NOTICES ONLY
P O BOX 6172                            INT:    .00% NOT FILED
RAPID CITY SD                               156437   ACCT:
                               57709-0000     0004   COMM:BNC
--------------------------------------------------------------------------------
MEDICAL DATA SYSTEMS                           .00   Unsecured
2001 9TH AVE                            INT:    .00% NOT FILED
SUITE 312                                   541079   ACCT:
VERO BEACH FL                  32960-0000     0023   COMM:
--------------------------------------------------------------------------------
MEDICAL DATA SYSTEMS                           .00   BNC NOTICES ONLY
2001 9TH AVE                            INT:    .00% NOT FILED
SUITE 312                                   541079   ACCT:
VERO BEACH FL                  32960-0000     0024   COMM:BNC
--------------------------------------------------------------------------------
MIDLAND FUNDING                                .00   BNC NOTICES ONLY
% SMITH DEBNAM NARRON & WYCHE           INT:    .00% NOT FILED
P O BOX 26268                               287883   ACCT:
RALEIGH NC                     27611-6268     0026   COMM:BNC
--------------------------------------------------------------------------------
NEW BRIDGE BANK                                .00   BNC NOTICES ONLY
P O BOX 867                             INT:    .00% NOT FILED
LEXINGTON NC                                138091   ACCT:
                               27293-0867     0006   COMM:BNC
--------------------------------------------------------------------------------
NEWBRIDGE BANK                            5,895.00   Vehicles-Secured
38 WEST FIRST AVE                       INT: 7.00%
LEXINGTON NC                                200037   ACCT:0816
                               27293-0000     0005   COMM:2003 FORD WINDSTAR
--------------------------------------------------------------------------------
NEWBRIDGE BANK                               62.75   Unsecured
38 WEST FIRST AVE                       INT:    .00%
LEXINGTON NC                                200037   ACCT:3809
                               27293-0000     0027   COMM:
--------------------------------------------------------------------------------
NEWBRIDGE BANK                                 .00   BNC NOTICES ONLY
38 WEST FIRST AVE                       INT:    .00% NOT FILED
LEXINGTON NC                                200037   ACCT:
                               27293-0000     0028   COMM:BNC
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NAME AND ADDRESS OF CREDITOR                AMOUNT   CLASSIFICATION
--------------------------------------------------------------------------------
NEWBRIDGE BANK                            1,716.60   Unsecured
38 WEST FIRST AVE                       INT:    .00%
LEXINGTON NC                                200037   ACCT:0816
                               27293-0000     2005   COMM:Split Claim
--------------------------------------------------------------------------------
OSI                                            .00   Unsecured
200 S EXECUTIVE DR 3RD FLOOR            INT:    .00% NOT FILED
BROOKFIELD WI                               479794   ACCT:
                               53008-0933     0017   COMM:
--------------------------------------------------------------------------------
OSI                                            .00   BNC NOTICES ONLY
200 S EXECUTIVE DR 3RD FLOOR            INT:    .00% NOT FILED
BROOKFIELD WI                               479794   ACCT:
                               53008-0933     0018   COMM:BNC
--------------------------------------------------------------------------------
PERRY GALE STONE MD                            .00   Unsecured
P O BOX 426                             INT:    .00% NOT FILED
KING NC                                     222354   ACCT:X6-58
                               27021-0000     0029   COMM:
--------------------------------------------------------------------------------
PERRY GALE STONE MD                            .00   BNC NOTICES ONLY
P O BOX 426                             INT:    .00% NOT FILED
KING NC                                     222354   ACCT:
                               27021-0000     0030   COMM:BNC
--------------------------------------------------------------------------------
ROUNDUP FUNDING LLC                       8,951.17   Unsecured
P O BOX 91121 MS 550                    INT:    .00%
SEATTLE WA                                  459459   ACCT:5638
                               98111-9221     0025   COMM:
--------------------------------------------------------------------------------
ROUNDUP FUNDING LLC                         799.54   Unsecured
P O BOX 91121 MS 550                    INT:    .00%
SEATTLE WA                                  459459   ACCT:U646
                               98111-9221     0031   COMM:
--------------------------------------------------------------------------------
SEARS                                          .00   BNC NOTICES ONLY
% NCO FINANCIAL                         INT:    .00% NOT FILED
507 PRUDENTIAL RD                           175105   ACCT:
TRENTON NJ                     08650-4907     0032   COMM:BNC
--------------------------------------------------------------------------------
WACHOVIA DEALER SERVICES                  7,618.19   Vehicles-Secured
P O BOX 25341                           INT: 7.00%
SANTA ANA CA                                308511   ACCT:1277
                               92799-0000     0007   COMM:2000 FORD FOCUS
--------------------------------------------------------------------------------
WACHOVIA DEALER SERVICES                       .00   BNC NOTICES ONLY
P O BOX 25341                           INT:    .00% NOT FILED
SANTA ANA CA                                308511   ACCT:
                               92799-0000     0008   COMM:BNC
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NAME AND ADDRESS OF CREDITOR                AMOUNT   CLASSIFICATION
--------------------------------------------------------------------------------
WACHOVIA DEALER SVCS                           .00   NOTICES ONLY
P O BOX 19657                           INT:    .00% NOT FILED
IRVINE CA                                   258854   ACCT:1277
                               92623-9657     0036   COMM:NOTICES ONLY
--------------------------------------------------------------------------------
WILEY NIFONG                                110.00   CONTINUING DEBT
310 KINDER RD                           INT:    .00%
WINSTON-SALEM NC                            150984   ACCT:
                               27107-0000     0009   COMM:LOT RENT
--------------------------------------------------------------------------------
WILEY NIFONG                                   .00   BNC NOTICES ONLY
310 KINDER RD                           INT:    .00% NOT FILED
WINSTON-SALEM NC                            150984   ACCT:
                               27107-0000     0010   COMM:BNC
--------------------------------------------------------------------------------
WILEY NIFONG                                440.00   Arrearage Ongoing-Secured
310 KINDER RD                           INT:    .00%
WINSTON-SALEM NC                            150984   ACCT:
                               27107-0000     0037   COMM:ARREARAGE
--------------------------------------------------------------------------------
TOTAL                                   27,188.44
--------------------------------------------------------------------------------
A CARL PENNEY                             2,500.00   ATTORNEY
P O BOX 21103
WINSTON-SALEM NC
                               27120-1103
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                                                     KATHRYN BRINGLE
                                                     P O BOX 2115
                                                     WINSTON-SALEM NC
                                                                          27102-2115




                    NOTICE OF FILING OF REPORT OF FILED CLAIMS

     The foregoing Report of Filed Claims has been filed with the Bankruptcy
Court based on an audit of claims filed in the Trustee's office. The claims are
allowed unless objection is made by the debtor or other party in interest.

     Any objection to a claim should be filed in writing with the            Bankruptcy
Court at the address below and a copy must be served on the Trustee:

                          Clerk, US Bankruptcy Court
                          226 South Liberty Street
                          Winston-Salem, NC 27101


     If an objection is filed, a hearing will be scheduled before the Court. The
Trustee will continue making disbursements on the claims unless an objection
is filed.




                                           OFFICE OF THE CHAPTER 13 TRUSTEE

Date: 06/02/2009                      By: s/ M. MOUNGER
                                          Clerk
                                          Chapter 13 Office
                                          PO Box 2115
                                          Winston-Salem, NC     27102-2115


cc:   Debtor(s)
      Attorney for Debtor(s)
